           Case: 22-2276                   Document: 1-3       Filed: 07/20/2022     Pages: 1



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                Office of the Clerk
        United States Courthouse
                                                                               Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                               www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                          NOTICE OF DOCKETING - Short Form
July 20, 2022

To: Gina M. Colletti
    Clerk of Court

The below captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit:

                Appellate Case No: 22-2276

                Caption:
                THOMAS F. BALL, II,
                         Petitioner - Appellant

                v.

                DAN CROMWELL,
                       Respondent - Appellee
                District Court No: 2:21-cv-00637-BHL
                Clerk/Agency Rep Gina M. Colletti
                District Judge Brett H. Ludwig

                Date NOA filed in District Court: 07/18/2022
If you have any questions regarding this appeal, please call this office.

form name: c7_Docket_Notice_short_form        (form ID: 188)
